Case 1:20-cv-20535-JEM Document 1 Entered on FLSD Docket 02/05/2020 Page 1 of 3



                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                                                  MIAMI DIVISION

   AIR EXPRESS INTERNATIONAL USA, INC.                            CASE NO. 1:20-cv-20535
   d/b/a DHL Global Forwarding
                   Plaintiffs,
   vs.


   ATLAS AIR, INC.
                Defendants.
   ______________________________________/


                                            COMPLAINT

 COMES NOW, the Plaintiff, AIR EXPRESS INTERNATIONAL USA, INC. d/b/a DHL Global

 Forwarding, by and through its undersigned counsel and sues the Defendant, ATLAS AIR, INC.

 and alleges as follows:

         1.     This is an action for damages in excess Seventy Five Thousand Dollars

 ($75,000.00), exclusive of interest and costs.

         2.     This Court has jurisdiction pursuant to 28 U.S.C. §1332 as it is a controversy

 between citizens of different states. In addition, this Court has original federal question jurisdiction

 based on 28 U.S.C. § 1331, because this action may also arise under the Montreal Convention,

 (the Convention for the Unification of Certain Rules for International Carriage by Air).

         3.     The instant forum is appropriate under Article 33 of the Convention; and Venue is

 further appropriate under 28 U.S.C. 1391(B)(2).

         4.     The Defendant Atlas Air, Inc. is a Delaware corporation with its principal place of

 business at 2000 Westchester Ave, Purchase NY, 10577. Defendant maintains a registered agent


                                                    1
Case 1:20-cv-20535-JEM Document 1 Entered on FLSD Docket 02/05/2020 Page 2 of 3



 in Plantation, FL for service of process and furthermore is subject to personal jurisdiction pursuant

 to the long arm statute of the state of Florida 48.193 by virtue of its systematic and continuous ties

 to the instant forum as well as a breach of a contract of carriage an the commission of statutory

 and common law breaches of care as more fully set forth herein relating to the instant specific

 transaction.

         5.        The Plaintiff, AIR EXPRESS INTERNATIONAL USA, INC. d/b/a DHL Global

 Forwarding, is an Ohio corporation with its principal address at 1210 South Pine Island Road,

 Plantation, FL 33324 and was a party to the Defendant’s air waybill that is the subject of the instant

 transaction (AWB 369-68007984). As such it is entitled to bring and has standing to maintain the

 instant action.

         6.        On or about February 6, 2018, at Guarulhos Brazil, the Defendant accepted a

 shipment consisting of 27 skids containing a medical equipment for air transportation from Miami,

 Florida for transport to Viracopos International Airport in Brazil.

         7.        At the time of receipt by the Defendant, the shipment was in good order and sound

 condition and as proof thereof the subject Air Waybill Number 369-68007984, was issued with no

 exceptions noted thereon.

         8.        The subject cargo was damaged in transport resulting in damages in excess of the

 jurisdictional requirements of this Court an amount that will be proven at trial.

         9.        The Plaintiff timely submitted written notification of loss; has complied with all

 conditions precedent to the bringing of this action; or said conditions have been met waived, or

 excused.




                                                   2
Case 1:20-cv-20535-JEM Document 1 Entered on FLSD Docket 02/05/2020 Page 3 of 3



                                               COUNT I
                                Breach of Contract- Montreal Convention

       10.      The Plaintiff realleges and repeats paragraphs 1 through 9 as if set forth herein at

 length and alleges further that:

       11.      The Defendant contracted and agreed to deliver said cargo from Miami to Brazil in

 the same condition as received and as evidence of that agreement issued Air Waybill 369-

 68007984.

       12.      The Defendant breached the contract of carriage by delivering the cargo to the

 consignee at destination with total damage in violation of the Montreal Convention.

    13. The subject cargo was damaged in transport resulting in damages in excess of the

        jurisdictional requirements of this Court an amount that will be proven at trial.

       WHEREFORE, the Plaintiff, prays for judgment against the Defendant for a principal
 amount to be determined at trial plus related fees, charges and expenses, together with pre-
 judgment interest, costs, and such other and further relief as the Court may deem just and proper


 Dated: February 5, 2020                              Respectfully submitted,


                                                      SPECTOR RUBIN, P.A.
                                               By:    /s / Marc Rubin
                                                      Marc A. Rubin, Esq. (FBN: 062626)
                                                      Andrew R. Spector, Esq. (FBN: 634093)
                                                      Continental Plaza
                                                      3250 Mary Street, Suite 405
                                                      Miami, Florida 33133
                                                      Tel: 305.537.2000
                                                      Fax: 305.537.2001
                                                      marc.rubin@spectorrubin.com
                                                      andrew.spector@spectorrubin.com




                                                  3
